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UNITED STATES DISTRICT COURT F]LEB EW U.C.

 

WESTERN DISTRICT OF TENNESSEE 05 _
Eastern Division c HAY |7 PH |I= |1

PO\`“*'RT R. Di TROL!O
CLEF?K U..S DlST CT.

UNITED STATES OF AMERICA D(jF TN JACKSON
-vs- Case No. l:05cr10033-001T
MICHAEL RAMIREZ

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
FRIDAY, MAY 20, 2005 at 2:00 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 407, Fourth Floor, United States Courthouse and Federal Building,
11 1 South Highland, Jackson, 'IN . Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing.

Date: May 17, 2005 5 /h 6
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S.THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

'It" not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(£) are present. Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon thejudicial ofticer‘s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness orjuror.

AO 470 (El85) Otder of Tempclrary Deiention

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 10 in
case 1:05-CR-10033 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

Jerry R. Kitchen

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Honorable J ames Todd
US DISTRICT COURT

